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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                  MAGISTRATE JUDGE MARIA-ELENA JAMES

                                   CIVIL MINUTE ORDER

DATE: January 14, 2015

TITLE : GARY LOHSE, ET.AL v.                       CASE #: C 14-00514 JCS (MEJ)
NATIONSTAR MORTGAGE, ET.AL




                                       APPEARANCES:
FOR PLAINTIFF:                                                   FOR DEFENDANT:

Michael Yesk, Esq.                                               Megan C. Kelly, Esq.



Deputy Clerk: Rose Maher

                                        PROCEEDINGS:
   Case Management
   Further Case management
   Status Conference
   Pretrial Conference
 X Settlement Conference (Length: 1 hr. 30 mins.)
   Evidentiary Hearing
   Examination of Judgment Debtor
   Motions


ORDER/RESULTS:

Settlement conference held, case settled in full. Settlement put on the record. All parties
agreed to be bound by the settlement in open Court. The parties shall file a dismissal with
prejudice upon execution of the settlement documents and distribution of the settlement funds.
This dismissal is for U.S. District Court Civil Action C14-00514 only and does not effect the
separate State Court Action in Solano County, Action No. FCS043010.


FTR Time: 11:26-11:29
cc: Karen Hom, Courtroom Deputy to Magistrate Judge Spero
